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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________
JEANNE GOULDING,

                            Plaintiff,

     v.                                            Civil Action No.

VERIZON COMMUNICATIONS, INC.
d/b/a VERIZON WIRLESS,

                        Defendant.
_________________________________________


                   COMPLAINT AND DEMAND FOR JURY TRIAL


                                I. INTRODUCTION

  1. This is an action for actual and statutory damages brought by an individual
     consumer for Defendant's violations of the Telephone Consumer Protection Act
     of 1991 (hereinafter referred to as the “TCPA”).


                           II. JURISDICTION AND VENUE

  2. Subject matter jurisdiction of this Court arises under 28 U.S.C.§ 1331.

  3. Venue is proper in this district under 28 U.S.C. §1391(b) in that the Defendant
     transacts business in the Western District of New York and the conduct
     complained of occurred in the Western District of New York


                                         III. PARTIES

  4. Plaintiff, Dianne Jones, is a natural person residing in County of Erie and State of
     New York.

  5. Defendant, Verizon Communications, Inc. d/b/a Verizon Wireless (“Verizon”), is
     a corporation organized under the laws of Delaware doing business in the State of
     New York.

  6. That at all times relevant herein, Defendant owned, operated and/or controlled
     “customer premises equipment” as defined by the TCPA, 47 U.S.C.§153(16), that
     originated, routed, and/or terminated telecommunications.
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7. That at all times relevant herein, Plaintiff was and is a “person” as defined by the
   TCPA, 47 U.S.C. §153(39).

8. That at all times relevant herein, Defendant has used the United States mail
   service, telephone, telegram and other instrumentalities of interstate and intrastate
   commerce to attempt to contact consumers.

9. That Defendant, at all times relevant herein, engaged in “interstate
   communications” as that term is defined by the TCPA, 47 U.S.C. §153(28).

10. That Defendant, at all times relevant herein, engaged in “telecommunications” as
    defined by the TCPA, 47 U.S.C. §153(50).

11. That Defendant, at all times relevant herein, used, controlled and/or operated
    “wire communications” as defined by the TCPA, 47 U.S.C. §153(59), that existed
    as instrumentalities of interstate and intrastate commerce.

12. That Defendant, at all relevant times herein, used, controlled and/or operated
    “automatic telephone dialing systems” as defined by the TCPA, 47
    U.S.C.§227(a)(1) and 47 C.F.R. 64.1200(f)(2).

13. The acts of the Defendant alleged hereinafter were performed by its employees
    acting within the scope of their actual or apparent authority.

14. All references to “Defendant” herein shall mean the Defendant or an employee of
    said Defendant.

                          IV. FACTUAL ALLEGATIONS

15. That on or about 2014, the Defendant began calling and leaving automated
    voicemails to the Plaintiff’s cellular telephone regrading an outstanding bill for
    Plaintiff’s ex-boyfriend, Keith Budney.

16. At that time, Plaintiff and Mr. Budney each had separate cellular numbers through
    Verizon but they were listed on a single account through a family plan.

17. That the Defendant would leave automated and/or pre-recorded voice messages
    on Plaintiff’s cellular telephone that pertained to Mr. Budney’s account.

18. That in or around July 2014, Plaintiff informed the Defendant that she no longer
    co-habited with Mr. Budney and that Mr. Budney needed to have his own
    separate Verizon account.

19. In response, Defendant separated the Plaintiff’ cellular telephone number from the
    original account wherein her number and Mr. Budney’s cellular number were on
    the same plan.
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20. Plaintiff from that point on had her own account relative to her cellular telephone
    number as did Mr. Budney.

21. Plaintiff also then requested that the Defendant no longer contact her about Mr.
    Budney’s account.

22. That despite the above instructions and having separated her account from Mr.
    Budney’s account, Defendant has continued to call the Plaintiff on her cellular
    telephone regarding Mr. Budney’s account.

23. That Plaintiff has never provided express consent to the Defendant to call her on
    her cellular telephone regrading Mr. Budney’s account.

24. That the Defendant initiated multiple telephone calls and voicemails to Plaintiff’s
   cellular telephone using an automated telephone dialing system and/or transmitted
   prerecorded voice messages and/or transmitted artificial messages.

25. The Defendant initiated and repeated, the following automated voicemail to the
    Plaintiff’s cellular device:

   “This is Verizon Wireless Financial Services with an urgent service alert. We are
   contacting you again regarding an important matter with the status of the wireless
   account belonging to Keith Budney. Please call us today at 1-800-754-0961,
   where you will be promoted to entered your ten digit reference number 716-491-
   9255. Once again the number to call is 1-800-754-096 and the reference number
   is 716-491-9255.”

26. That other times, when Plaintiff would answer her phone, an automated prompt
    would play stating that it was Verizon calling for Keith Budney and to press 1 if
    you are Keith and press 2 if the receipt was not Keith.

27. That the telephone calls and voicemails made by the Defendant at times rendered
    Plaintiff’s telephone unusable due to the excessive number of messages and calls.

28. That the telephone calls and voicemails from the Defendant are annoying and
    upsetting to the Plaintiff.


                                 V. COUNT ONE
                    (Telephone Consumer Protection Act of 1991
                           and 47 C.F.R. 64.1200, et seq.)

29. Plaintiff repeats, realleges and incorporates by reference the preceding and
    succeeding paragraphs in this complaint as if each of them was reprinted herein
    below.
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30. The Defendant at all times material and relevant hereto, unfairly, unlawfully,
    intentionally, deceptively and/or fraudulently violated the TCPA, 47 U.S.C.§227,
    et seq. and 47 C.F.R.64.1200, et seq. and TCPA, 47 U.S.C.§227(b)(1)(A)(iii) by
    initiating telephone calls to Plaintiff’s telephone using an automatic telephone
    dialing system and/or used an artificial and/or prerecorded voice to deliver
    messages without having consent of Plaintiff to make such calls and leave such
    messages.

31. The acts and/or omissions of the Defendant at all times material and relevant
    hereto, as described in this complaint, were done unfairly, unlawfully,
    intentionally, deceptively and fraudulently and absent bona fide error, lawful
    right, legal defense, legal justification or legal excuse.

32. As a causally-direct and legally proximate result of the above violations of the
    TCPA, the Defendant at all times material and relevant hereto, as described in this
    complaint, caused the Plaintiff to sustain damages as a result of their innumerable
    teletelephone calls that harassed, annoyed and abused Plaintiff, and disturbed his
    peace and tranquility at home and elsewhere.

33. As a causally-direct and legally proximate result of the above violations of the
    TCPA, the Defendant at all times material and relevant hereto, as described in this
    complaint, caused the Plaintiff to sustain damages and experience emotional
    distress.

34. As a causally-direct and legally proximate result of the above violations of the
    TCPA, the Defendant at all times material and relevant hereto, as described in this
    complaint, is liable to actual damages, statutory damages, treble damages, and
    costs.

35. Plaintiff received multiple calls from Defendant using an automatic telephone
    dialing system and/or an artificial and/or prerecorded voice entitling Plaintiff to
    Five Hundred Dollars and No Cents ($500.00) for each artificial and/or
    prerecorded telephone call pursuant to the TCPA, 47 U.S.C.§227(b)(3)(B),

36. The Defendant caused said teletelephone calls of an artificial and/or prerecorded
    nature to be placed willfully and/or knowingly entitling Plaintiff to a maximum of
    treble damages pursuant to the TCPA, 47 U.S.C.§227(b)(3).
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WHEREFORE, Plaintiff respectfully requests that judgment be entered against the
Defendants for:

       (a) Actual damages;

       (b) Statutory damages pursuant to 47 U.S.C. §227(b)(3)(B).

       (c) Treble damages pursuant to 47 U.S.C. §227(b)(3);

       (d) For such other and further relief as may be just and proper.


Dated: January 25, 2022

                                            /s/ Seth J. Andrews, Esq. _______
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